March 9, 1993
                    [NOT FOR PUBLICATION]

                UNITED STATES COURT OF APPEALS
                    FOR THE FIRST CIRCUIT

                                         

No. 92-2174 

                        UNITED STATES,

                          Appellee,

                              v.

                       VICTOR GONZALEZ,

                    Defendant, Appellant.

                                         

         APPEAL FROM THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF RHODE ISLAND

    [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                                        

                                         

                            Before

                     Breyer, Chief Judge,
                                        
              Torruella and Cyr, Circuit Judges.
                                               

                                         

Victor Gonzalez on brief pro se.
               
Lincoln C. Almond, United States Attorney, Margaret  E. Curran and
                                                              
Kenneth P.  Madden, Assistant  United States  Attorneys, on  brief for
              
appellee.

                                         

                                         

     Per  Curiam.   Contrary to  appellant's contention,  the
                

increased   maximum  penalties  and  the  supervised  release

provisions  of the Anti-Drug Abuse  Act of 1986,  Pub. L. No.

99-570, 100 Stat. 3207 (ADAA) became effective on the date of

the ADAA's enactment, i.e., October 27, 1986.   Gozlon-Peretz
                                                             

v.  United  States,  498  U.S. 395  (1991).    The  no-parole
                  

provisions  of the  ADAA  became effective  on that  date, as

well.  United States v. De Los Santos-Himitola, 924 F.2d 380,
                                              

381 (1st Cir. 1991).  And, although Gozlon-Peretz involved 21
                                                 

U.S.C.   841 (controlled  substances), we have held that  its

rationale applies equally  to the parallel  provisions in  21

U.S.C.    960.  Padilla  Palacios v. United  States, 932 F.2d
                                                   

31,  33-34   (1st  Cir.  1991).     The  appellant  committed

violations of both  21 U.S.C.    841 and 21  U.S.C.   960  in

April 1987.   His sentences  of 25 years  of imprisonment  on

each of the four  counts, to be served concurrently,  and his

sentences of  20  years  of supervised  release  on  the  two

substantive counts, to be served concurrently, are lawful and

his arguments  to the contrary  are foreclosed by  the above-

cited precedent.

     Appellant appears  also to argue that  amendments to the

penalty  provisions  of  21  U.S.C.       846  and  963  (the

coordinate  conspiracy provisions),  enacted on  November 18,

1988, were unlawfully applied to him.  Even  if intended as a

separate argument,  however, we have  rejected it in  a prior

post-conviction  appeal brought  by  one of  appellant's  co-

defendants.   United  States v.  Sigifredo Gonzalez,  No. 90-
                                                   

1088, slip op.  at 3-6 (1st Cir. Sept. 11,  1990).  We reject

it  here  as well  for the  reasons  stated in  that Gonzalez
                                                             

opinion.

     The  order  of the  district  court  denying this  post-

conviction motion is affirmed.

     Affirmed. 
              

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